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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        CHAMBERS OF                                                           101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
                                                                          MDD_SAGchambers@mdd.uscourts.gov




                                                         June 30, 2021


          Re: Carrasco v. M&T Bank
              Civil Case No. SAG-21-532

  Dear Mr. Carrasco and Counsel:

            This Court has instructed the parties on two prior occasions to refrain from filing materials
  on the docket that do not constitute formal motions for relief or other correspondence requested
  by the Court. See ECF 39 (“Please refrain from continuing to docket items that do not constitute
  a motion, an opposition to a motion, a reply, or other correspondence to the Court seeking
  particular relief.”); ECF 56 (“Any future filings should conform with this Court’s Local Rules and
  the Federal Rules of Civil Procedure, and with the directions I provided the parties in ECF
  39 . . . .”). Recently, the parties filed various materials on the docket that do not comply with this
  Court’s clear instructions. ECF 65, 70, 71, and 72. The Court will therefore disregard these filings.
  The Court has referred this case to United States Magistrate Judge A. David Copperthite for
  discovery and all related scheduling. ECF 67. If the parties have specific discovery disputes, they
  should be raised by motions seeking particular relief in accordance with this Court’s Local Rules.
  They will then be adjudicated by Judge Copperthite. To the extent that the parties wish to file
  dispositive motions, they may do so without seeking leave of the Court.

          Again, the Court reiterates the need for both parties to comply with the rules and decorum
  of this forum. Any future filings that contain ad hominem attacks about the opposing party or
  opposing party’s counsel or officers will be disregarded.


                                                         Sincerely yours,

                                                                 /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
